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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                                      Criminal No. l8-

                                                              VIOLATIONS:
                                                              18 U.S.c. SS 1343, 1346
                                                              (Money, Property, and Honest
                                                              Services Wire Fraud)

                                                              l8 u.s.c.   $   20r
JAMES EDWIN KING.                                             (Bribery)

               Defendant.                                     l8 u.s.c. s 1s19
                                                              (Falsifi cation of Documents)

                                                              FORFEITURE:
                                                              l8 u.S.C. $ e8l(a)(l)(C); 28 U.S.C.
                                                              $ 2461(c);21 U.S.C. $ 8s3(p)



                                         INFORMATION

       The United States charges that:

                                       General Allesations

       [.       Unless stated otherwise, the relevant time period for this Information spans from in

or about August 2015 through in or about December 2017.

A.     Vocational Rehabilitation and Employment Program

       2.       At all relevant times the United States Department of Veterans Affairs (,,VA") was

an agency   ofthe United   States Govemment.

       3.      At all relevant times rhe Vocational Rehabilitation and Employment C.VR&E')
program was a VA program authorized by congress under Title 3g, United States Code,
                                                                                    chapter

31. The VR&E program provided eligible         veterans services and assistance necessary to enable

them to achieve maximum independence in daily living and to obtain and maintain suitable
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employment. VR&E program benefits were available to individuals who served in the military

after September 16, 1940, and did not receive a dishonorable discharge. In order to qualify for

these benefits a veteran must have had a service-connected disability and a serious employment

handicap requiring rehabi I itation.

          4.      One type of service offered to qualifying veterans by the VR&E program was

educational and vocational training. In cases where educational and vocational training was

determined to be necessary for the veteran to accomplish the purposes of the rehabilitation

program, the VA paid for tuition, books, supplies, equipment, and other educational costs and fees.

See 38 U.S.C. $    3l04(a)(7)(a). The VA paid tuition and     fees directly to the school   ontheenrolled

veteran's behalf, and sometimes also paid for books, supplies, and equipment directly to the school

on the veteran's behalf. Veterans participating in the VR&E program received a subsistence

allowance while they pursued an education or training program. The subsistence allowance was a

monthly payment calculated based on the rate ofattendance in a training program (full-time, three-

quarter-time. or half-time), the number of dependents, and the type of training. See 38 U.S.C.

$ 3108(b).

          5.      Each VR&E program vendor that receives tuition payments from the VA was

required to designate a School Certifying Official. School Certifying Officials certify the accuracy

of information submitted for purposes of payment by the vendor to the VA. For example, school

vendors submitted     VA Form 28-1905s to certify that veteran students were enrolled in specified

classes   for specified class hours during specified dates.

B.        James Edwin King

          6.     The defendant, James Edwin King ("KING") was a VR&E program counseror

employed by the     VA. VR&E program       counserors such as KING were responsibre for providing




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rehabilitation and counseling services to veterans. These services included comprehensive

evaluations, entitlement determinations, educational counseling, vocational counseling.

rehabilitation planning,job placement, and case management. Each counselor was assigned to a

certain number of educational institutions. As part     of KING's duties as a VR&E        program

counselor, KING was responsible for advising veterans under his supervision which school they

should attend. KING was also responsible for reviewing invoices submitted by VR&E program

vendor schools and making a determination as to whether such invoices should be paid.

C.      The Fraudulent Vendor Schools

        I.      Atius Technology Institute

        7.      Atius Technology lnstitute ("Atius") was a privately owned, non-accredited school

specializing in information technology courses. Atius was registered to do business in the State

of Maryland and the Commonwealth of Virginia. Atius had two            campuses, one at an office

building at 4715 Sellman Road, Suite G, Beltsville, Maryland, and the other located at an office

building at 6320 Augusta Drive, Twelfth Floor, Springfield, Virginia, the latter of which opened

in or about March 2017   .




        8.     Albert Poawui ("POAWUI"), was a co-owner or sole owner of Atius.              and

controlled all of its finances and operations.

       9.      Beginning in or about October 2016, Sombo Kanneh (,,KANNEH,') was employed

full+ime by Atius as its Financial Manager. In her capacity   as Financial Manager,   KANNEH was
responsible for managing Atius's finances.

       10.     Beginning in or about october 20r6, ATIUS EMpLoyEE r was employed
                                                                                 fult-
time by Atius as its Program Manager. In his capacity as program
                                                                 Manager, ATIUS        EMpLoyEE




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I   was responsible for managing Atius's student enrollment, curriculum, and its correspondence

with the VA.

         I   l.         POAWUI was Atius's primary School Cenifying Official from in or about May

2015 until        F   ebruary 27,2017, at which time he delegated this role to ATIUS EMPLOYEE          l.   As

School Certifying Officials, POAWUI and ATIUS EMPLOYEE                    I   submitted to the   VA invoices

reflecting veterans' course schedules, course tuition, and the costs of equipment and supplies that

Atius purported to purchase for veterans.

         II.            f,elon Training Academy

         12.            Eelon Wellness and Massage and Eelon Training Academy (collectively "Eelon")

were privately owned, non-accredited schools purporting to specialize in health and wellness and

digital media, respectively. Eelon was registered to do business in the State of Maryland.

Beginning no later than in or about 2016 to in or about January 2017, Eelon operated at 361I

Branch Avenue, Suite 207, Temple Hills, Maryland 207 48. From in or about January 201 7 to in

or about January 2018, Eelon operated at 3100 Branch Avenue, Temple Hills, Maryland 20748.

         I   3.         Michelle Stevens ("STEVENS") was the sole owner of Eelon, and controlled all of

its finances and operations.

        III.            School   A

         14.            School A was a privately owned, non-accredited school purporting to specialize in

physical security training. School A was registered to do business in the State of Maryland. School

A was located in Temple Hills, Maryland.

         15.           PERSON A owned School A and controlled all of its finances and operations.




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        IV.      Other Relevant Subject Individuals

        16.      PUBLIC OFFICIAL       I   was a VR&E program counselor employed by the VA.

When KING was not in the office, orwhen he was otherwise unable to facilitate paperwork needed

for the VA to pay Atius, PUBLIC OFFICIAL I completed and transmitted such paperwork so that

Atius would be paid by the    VA.   PUBLIC OFFICIAL         I   also referred some students under her

supervision to Atius. PUBLIC OFFICIAL         I took such action while   aware of the   illicit   agreement

between POAWUI and KINC described below.

        17.      PERSON B was a veteran enrolled in the VR&E program. KING supervised

PERSON B in KING's capacity as a VR&E program counselor. As further described below,

PERSON B served as KING's personal assistant for purposes ofthe scheme.

                      The Scheme to Defraud the VA and Commit Briberv

                                       COUNT ONE
  (Scheme to Deprive the United States of Money, Property, and Honest Services Through
                  the Use of Interstate Wires - 18 U.S.C. SS 1343, 1346)

        I   8.   From in or about August 201 5 and continuing until in or about December 201 7, in

the District of Columbia, and elsewhere, the defendant,

                                     JAMES EDWIN KING

and POAWUI, KANNEH, STEVENS, ATIUS EMPLOYEE                        l,   PERSON   A, and others known

and unknown, devised and intended to devise a scheme and artifice to defraud the United States,

including the VA, ofmoney and property, and to defraud and deprive the United States, including

the VA, and the citizens ofthe United States,   oftheir right to the honesr services of KING, a public

official, through bribery.




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A.     Purposes of the Scheme

        19.      The purposes ofthe scheme included, but were not limited to, the following:

                    a.   For KING to use his official position at the VA to enrich himself through

                         corruption by soliciting, demanding, and accepting things of value from

                         POAWUI, STEVENS, and PERSON A in exchange for KING's official

                         actions favorable to those individuals and their schools;

                    b.   For POAWUI. STEVENS, PERSON A. and others known and unknown to

                         enrich themselves through corruption, by providing things ofvalue to KING

                         in exchange for KING's official acts, which financially benefitted their

                         schools;

                    c.   For KING, POAWUI, STEVENS, PERSON A, and others known                     and

                         unknown to enrich themselves through fraud by, among other things,

                         providing false information to the VA about the education that their

                         respective schools would be providing or did provide to VR&E program

                         veterans in order to obtain inflated payments.

B.     Manner and Means of the Scheme

       20.      The manner and means of the scheme included, but were not limited to, the

following:

       I.       The Atius Scheme

       21.      In or about August 2015, KING and POAWUI agreed to commit bribery and to

defraud the   vA in order to enrich rhemselves. KING       and   PoAwul   agreed that   poAWUI would

pay-and PoAwul did in fact          larer   pay-KING   a 7% cash kickback of all payments made by the

vA to Atius relating to veterans       coming from the District of columbia    vA    Regional Benefits




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Office in exchange for KING taking official acts to cause the VA to pay Atius. KNG required

that the bribe payments be made in cash to hide them from the Intemal Revenue Service and to

keep their scheme a secret, and POAWUI agreed to this condition.

       22.     Under KING and POAWUI's agreement, KING's primary role in the scheme was

to act in his official capacity to steer VR&E program veterans-both those directly under his

supervision and those under the supervision ofother VR&E program counselors-to Atius, and to

approve Atius's invoices for payment. For his part. to maximize the scheme's profits, POAWUI

sent and caused to be sent course schedules, invoices, and other information to    KING and other

VA employees that inflated the amount oftime that students were attending Atius. KINC approved

these documents without regard for their accuracy, and in some instances knowing they were false,

in order to maximize the profit that KING and POAWUI made from the scheme.

       23.     KING continued to send veterans to Atius despite numerous complaints by Atius

students to KING that the veterans were not receiving an adequate education at the school. Despite

voluminous complaints of this nature from veterans about Atius, KING took no action to transfer

the complainant students to another school, seek a refund from Atius for services paid for but not

provided, or ensure that the veterans at Atius were receiving the education they were promised.

       24.     From on or about September 15, 2015, to on or about May 5,2017, the         VA   paid

Atius approximately $2,217 ,391 for tuition, equipment. and supplies for veterans enrolled at Atius.

The majority of these students were assigned to KING and enrolled at Atius at KING's direction.

A small minority of these students were assigned to other vR&E        Program counselors, such as

PUBLIC OFFICIAL l, but enrolled at Atius at KING's urging, direction, or instruction in KNG,s

official capacity. KING solicited and received from PoAWUI aTyo share of the vA's payments

for students from the VA District of Columbia Regional Benefits Office to Atius irrespective of




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whether the payment was made for a veteran officially assigned to KING or another VR&E

program counselor in that office.

          25.      From in or about August 2015 to in or about December 2017, in exchange for

KNG's official        acts and in furtherance of their scheme to commit bribery and defraud the    VA,

POAWUIpaid KING approximately $152,000. These payments were made in cash and were hand-

delivered to KING, or to PERSON B to be passed on to KING, by POAWUI or KANNEH.

POAWUI and KANNEH delivered these payments, and KING received these payments, knowing

that the payments were bribes pursuant to POAWUI and KING's illicit agreement.

         26.      To further their scheme and keep it a secret, POAWUI and ATIUS EMPLOYEE I

knowingly made false representations on documents submitted to the             VA.    The documents

described below were sent by POAWUI and ATIUS EMPLOYEE I via email to KING, PUBLIC

OFFICIAL l, other VA employees, and/or a VR&E centralized mailbox that was used to receive

electronic invoices from VR&E program vendors. For example:

                        a.   POAWUI and ATIUS EMPLOYEE I certified on VA Form 28-1905s that

veterans attending Atius were enrolled in between eighteen and thirty-two hours ofclass per week

when in fact both POAWUI and ATIUS EMPLOYEE                 I knew that Atius only offered a maximum

of six hours of       class per week for the courses listed on the     form. POAWUI and ATIUS
EMPLOYEE          I   made these false representations   to obtain a "fulltime" designation for   these

veteran students, thereby fraudulently increasing the amount ofmoney that Atius could charge the

VA for each veteran student.

                       b.    Similarly, POAWUI and ATIUS EMPLOYEE I submitted class schedules

to the   vA   that included dates and times during which classes were not offered at all.




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                       c.   ATIUS EMPLOYEE        l,    sometimes at POAWUI's direction, submitted to

the VA "Certificates of Completion" for students who had not completed the courses listed on the

certificates.

                       d.   KING approved the payments for Atius students without regard to the

accuracy ofthe forms that were being provided by Atius, and knowing or having reason to know

that they contained material, false information conceming the amount of class hours that the

veterans were receiving.


          II.       King and Poawui's Efforts to Hide the Atius Scheme and Obstruct the
                    VA's Administrative Investigation

          27    .   By no later than February 2017, the VA had initiated an administrative factfinding

inquiry into Atius based on complaints by students as to the quality ofeducation at the school. By

July 2017, the VA had suspended making payments to Atius based on the preliminary findings of

this inquiry. KING and POAWUI were made aware of the VA's inquiry into Atius by no later

than July 2017, and both were aware ofthe suspension ofpayments from the VA to Atius.

          28.       Among the responsibilities of VR&E program counselors was to periodically

conduct site visits at the counselors' assigned VR&E vendor schools. In particular, a VR&E

program counselor was required to conduct a site visit when a school opened a new location that

would receive veterans. KING never conducted a site visit of either Atius location and only went

there in order to retrieve bribe payments.     onoraboutAugust      14, 2017, during a meeting between

KING and PoAwuI at KING's apartment, KING handed poAwut a printed report KING had

created   earlier. The repon falsely stated that KING had performed a site visit at Atius,s
Springfield, Virginia, location     in   January z0l7   , prior to poAWUI receiving VR&E      program

veterans at that location.    KING instructed poAwul to send the report to another vA employee

who was responsible for approving schools as VA vendors. KING created this document,
                                                                                     and



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instructed POAWUI to send it to the VA, to cause the VA to falsely believe that KING had

performed a required site visit prior to Atius opening its second location in Springfield, Virginia.

The purpose of KING's conduct in this respect was to obstruct the     VA's inquiry into Atius    and to

ensure that the   VA would resume paying Atius's invoices.

       29.        On October    ll,   2017, ATIUS EMPLOYEE           l-at     POAWUI and KING's

direction----emailed a   VA official who was KING's superior, stating that Atius would no longer

offer day classes, even though POAWUI, ATIUS EMPLOYEE           l,   and KING knew that Atius never

offered day classes in the first place. The purpose of this email was to conceal the truth about

material misrepresentations that POAWUI and ATIUS EMPLOYEE I had previously made to the

VA concerning Atius course schedules,    and to ensure the continued approvals of     Atius's invoices.

       III.       Witness Tampering Involving Atius

       30.        On January 17,2018, POAWUI and KING met in KING'S car, which was parked

in a parking lot outside a Dunkin Donuts in Hanover, Maryland. POAWUI was meeting with

KINC at the   request    of the govemment's investigators and was wearing a recording           device

provided by the investigators. By this point, KING had been interviewed by agents with the

Federal Bureau of Investigation and Depa(ment of Veterans Affairs      -   Office of Inspector General,

and was told by those agents that the government was investigating matters involving Atius and

the VR&E program.

       31.        During the conversation, POAWUI told KING that he "ended up not [interviewing

with the govemment] because the subpoena said you can provide the records," but that he would

need to appear in response to a subpoena.

       32. PoAwul            further stated that he was wonied about being asked questions

concerning a Google wallet payment that he had made to       KING. KING responded, ',That was,



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that was definitely a personal loan that I made to you. . .   .   Just,just paying back a personal loan."

KING then proposed that POAWUI "say [KINC] purchased, purchased a computer from you

because you got   it at a discount, discount rate . . . if they ask." KINC then       suggested that the

computer involved in the transaction was a "Dell computer." ln fact, KING and POAWUI had

never entered a loan or sold each other a computer. KING made these statements with the intent

to cause POAWUI to testify falsely to the grand jury.

        33.    POAWUI also raised the issue of PERSON B visiting Atius. KING stated that

PERSON B "came in that one time with me for the site visit, he came back, time after time about

you know, he wanted to leam about the program." ln fact, as both POAWUI and KING well knew,

PERSON B had visited Atius solely forthe purpose of retrieving bribe payments for         KINC. KING

made this statement with the intent to cause POAWUI to testify falsely to the grand        jury.

        34.    During this same conversation, KING also recounted that he had spoken with

PUBLIC OFFICIAL I about the investigation. According to KING, when PUBLTC OFFICIAL I

confronted KING about being paid by POAWUI, KING told her that "none of that ever happened,

never been paid by this man, never had any money transferred between              us." KING    made this

statement with the intent to cause PUBLIC     OFFICIAL I to lie to govemment investigators.

       IV.     The Eelon Scheme

       35.     In or about 2014, KING and PERSON B met with STEVENS at 361I Branch

Avenue, Suite 207, Temple Hills, Maryland. During this meeting, KING proposed to STEVENS

that STEVENS open a school that would be approved by the VA to serve as a vendor for the

vR&E program. KING explained to STEVENS that veterans would attend STEVENS'                        school

and that their tuition would be paid to STEVENS by the        vA. srEvENS         was not operating any

school of any kind at this   time. At   a subsequenr meeting between       KING and STEVENS, in or



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about early 2016, STEVENS agreed to begin the process of creating a school to serve as an

approved vendor for the VR&E program.

        36.     STEVENS first became a certified VR&E vendor on March 22,2016, using the

school name Eelon Wellness and Massage. KING, in his official capacity as a VR&E program

counselor, initiated and facilitated the vendor approval process for Eelon Wellness and Massage.

At this time, Eelon Wellness and Massage was not operating as a school and did not have any

students.

       37.      On or about July l,2016, KING enrolled PERSON B in Eelon Wellness and

Massage's "Health Practitioner" course. When PERSON B enrolled at Eelon Wellness and

Massage, he was the only student at the school.   OnoraboutJune2TandJulyl,20l6,STEVENS

prepared and sent to   KINC invoices reflecting the costs and planned course of study for PERSON

B's course. In these documents, STEVENS purposely inflated the hours ofclass that PERSON B

would attend. STEVENS represented that PERSON B would attend class for approximately forty

hours per week, when in actuality PERSON B attended no more than eight hours ofclass per week.

KINC approved these invoices for payment without regard to whether the class hour information

was accurate.

       38.      On or about September 2, 2016, STEVENS received by electronic transfer a tuition

payment from the    VA for PERSON B's Health Practitioner course tuition in the amount of

S28,100. In or about September 2016, STEVENS called KING by telephone and asked how she

could "bless" him in return for facilitating the VA's paymenr of PERSON B,s tuition. KING

responded that she should pay him seven percenr    ofthe monies paid by the VA to STEVENS.

       39.      [n or about September 2016, following her conversation wirh KING regarding their

bribery agreement, STEVENS met KING at his office located            at   1722 Eye Street N.w.,




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Washington, D.C., and handed him $1,500 cash. Thesole purpose ofthis payment was for KING's

official acts in facilitating the payment of funds from the VA to STEVENS.

        40.    In or about April 2017, STEVENS renamed her school Eelon Training Academy

and refashioned it as a school purporting to provide "digital media" classes. To that point, no one

had attended Eelon Wellness   &   Massage as a tuition-paying student other than PERSON B and

STEVENS' son.

        41.    In or about March 2017, STEVENS met KING in a parking lot near Arundel Mills

Mall in Hanover, Maryland, and handed KING $1,500. The sole purpose of this payment was

KING's fee in retum for his official acts to facilitate the payment of funds from the VA to

STEVENS.

       42.     Between in or about June 2017 and in or about January 201 8, KING enrolled    a   total

ofseven students, including PERSON B, in Eelon Training Academy, purportedly to take a digital

media course. STEVENS knowingly submitted, and KING knowingly processed and approved,

paperwork inflating the number of weekly class hours that STEVENS planned for students to

attend class in an effort to achieve a "full-time" designation for the students. For example,

STEVENS represented to the VA that students would be attending class for forty hours per week,

knowing that in fact they would attend class for a maximum ofeight weekly hours. And, in fact,

several of the students did not attend the majority of the scheduled class sessions due to the poor

quality ofthe education provided by Eelon Training Academy and the building frequently being

locked and vacant on scheduled class days.

       43.     In furtherance of the scheme to bribe KING and defraud the VA, and in an attempt

to maximize her profits from the scheme, STEVENS submitted invoices to the       vA   amounting to




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no less than $300,000 for the tuition and equipment for these seven students. Ofthe over $300,000

that STEVENS charged the VA, the VA paid approximately $83,000 directly to STEVENS.

           44.    The balance ofthe payments charged to the VA by Stevens were not paid by the

VA due to the VA's ongoing administrative investigation into Eelon following complaints by

students about the poor quality ofeducation at Eelon.

           V.     The School A Scheme

           45.    Between in or about August 2015, and in or about November 2016, KING enrolled

fifteen veterans in physical security classes at School A.

           46.    KING approved invoices and facilitated the payment ofover $340,000 in VA funds

to PERSON A for the purported education ofthese fifteen veterans.

           47.    In exchange for KING's official acts ofenrolling veterans at School A, approving

School     A invoices, and facilitating   payments from the   VA to School A,   Person   A   made cash

payments to KING.

          48.     In order to obtain the VA funds, PERSON A sent to KING materially               false

information conceming the quantity and type of education that would be or was provided to the

fifteen veterans. For example, PERSON A filled out, signed, and sent to KING VA Form 28-

1905s indicating that veterans would be enrolled in forty hours ofclass per week and would receive

a total   of640 hours ofclass. In fact, School A's classes were not set up to provide more than eight

to ten hours of class weekly, and most students went to only several classes before dropping out

due to the poor quality of instruction provided. veterans frequently arrived at School       A to find

the building locked and that class had been "cancelled" without warning.

          49.     PERSON    A   created and sent   to KING dozens of ..Ceftificates of Completion,'

indicating veterans had completed courses that they did not take in the first place.




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         50.         KING facilitated the payment of VA funds to PERSON A knowing that the students

KING sent to School A were not receiving the education that was reflected in the above-described

documents.

         VI.         King's Deceit and Manipulation of Veterans

         5l   .      In order to maximize the profit ofthe schemes for its participants, and further enrich

himself, KING repeatedly lied to veterans in order to convince them to attend Atius, Eelon, or

School   A.       For example:

                        a.   KING told one veteran that she could not pursue her preferred course of

                             study in accounting and had to attend information technology courses at

                             Atius instead because she had failed a class in college prior to enrolling in

                             the VR&E program. No such limitation existed either in terms of VR&E

                             program regulations or otherwise.

                        b.   KING told another veteran that he had to attend Atius. and then later Eelon,

                             because he was on probation        in an unrelated criminal matter. No such

                             limitation existed either     in   terms   of VR&E   program regulations or

                             otherwise.

                        c. A third veteran assigned to KING had been a cook in the Navy and told
                             KING that he wished to pursue his dream of becoming     a   professional baker.

                             This veteran also told KING that he had to travel abroad for a planned

                             family obligation and would be returning in approximately two months.

                             KING told the veteran that he had to attend School A or else his VR&E

                             benefits would lapse. That assertion was false, as shown by the fact that

                             KING assigned numerous other veterans to Atius and Eelon courses that did




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                             not start until several months after they first met with KING and entered the

                             VR&E program. KING insisted that this veteran enroll in School A despite

                             the veteran's protests that he could not engage in physical security work due

                             to a physical disability.

C.        Use of Interstate Wires to Execute the Scheme

          52.     On or about the date listed below, KING, for the purpose ofexecuting the above-

described scheme and artifice to defraud and deprive, transmitted or caused to be transmitted by

means of wire communication in interstate commerce, the following writing, signal, and sound;

that is, he caused:

  Count                Date                                           Descriotion

    One       September 2, 2016              Electronic wire communication for payment processing of U.S.
                                             Treasury funds, originating in Austin, Texas, going to Kansas
                                             City, Missouri, for the payment of $28,100 by the U.S.
                                             Treasury to Eelon Academy's TD Bank account, ending in
                                         I
                                             4728.


        (All in violation of Title       I   8, United States Code, Sections 1343 and I 346.)

                                                         COUNT TWO
                                              (Bribery   - 18 U.S.C. S 201(b)(2)
        53.       Paragraphs     I   - 51 are incorporated by reference as though fully set forth herein.

          54.     From in or about August 2017 and continuing until in or about December 2017, in

the District of Columbia, and elsewhere, the defendant,

                                               JAMES EDWIN KING

being a public official, did directly and indirectly, corruptry demand, seek, receive, accept,
                                                                                               and

agree to receive and accept money and other things of value in return for being
                                                                                influenced in the
performance     ofofficial   acts, being influenced to commit and aid in committing, and to
                                                                                            collude in,




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and allow, any fraud, and make opportunity for the commission ofany fraud, on the United States,

and being induced to do and omit to do any act in violation of his official duty; that is, KING

solicited, demanded, and accepted money and other things of value from POAWUI, STEVENS,

PERSON A, and others known and unknown, as described in paragraphs                 I - 51, in exchange for
performing official acts favorable to those persons and their businesses.

               (All in violation of Title   18, United States Code, Section 201(b)(2).)

                                         COUNT THREE
                           Falsification of Records - 18 U.S.C. $ 1519

       55.     Paragraphs I   - I I and 20 - 29 are incorporated as though fully set forth herein.
        56.    On or about August 14, 2017,

                                      JAMES EDWIN KING

knowingly altered, falsified, or made a false entry in a record, document, or tangible object with

the intent to impede, obstruct, or influence the investigation or proper administration ofany matter

within the jurisdiction ofany department or agency ofthe United States; that is, while Atius was

being investigated by the VA, KING created a false report indicating that he had performed a site

visit at Atius which he never in fact performed, and caused POAWUI to send that report to another

VA employee.

                                 FORFEITURE ALLEGATION

       57.     Upon conviction of either of the offenses alleged in Counts One and/or Two, the

defendant shall forfeit to the United States any property, real or personal, which constitutes or is

derived from proceeds traceable to this offense, pursuant to Title 18, United States Code, Section

981(a)(l)(C) and Title 28, United States Code, Section 2461(c). The United States will also seek

a forfeiture money judgment against the defendant in the amount      of   $I   55,000.




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       58.     If any of   the property described above as being subject to forfeiture, as a result        of

any act or omission ofthe defendant:

               a.      cannot be located upon the exercise ofdue diligence;

               b.      has been transferred or sold to, or deposited with, a third party;

               c.      has been placed beyond hejurisdiction              ofthe Court;

               d.      has been substantially diminished in value; or

               e.      has bccn comminglcd with othcr property that cannot be divided without

                       diffic u lrY:

the defendant shall forfeit to the United States any other property          ofthe defendant, up to the value

described above, pursuant to Title 21, United States Code, Section 853(p).

 (Criminal Forfeiture, pursuant to Title    United States Code, Section 981(a)( I )(C), Title 28,
                                              I 8,

     United States Code, Section 2461(c), and Title 21, United States Code, Section 853(p))



                                                     JESSIE K. LIU
                                                     united states Attomey
                                                     For the District of Columbia

                                        By,          z2--?
                                                     Sonali D. Patel
                                                     David Misler
                                                     Assistant United States Attomeys

                                                     ANNALOU TIROL
                                                     Acting Chief, Public lntegrity Section

                                        By:
                                                     S lmon J.   ataldo
                                                     Trial Attorner.




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